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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

ANB 3232 P Street LLC                                        *

          Plaintiff,                                         *

v.                                                           * Civil Case No.1:14-CV-00918-RBW

ERIE INSURANCE EXCHANGE, et al.                              *

          Defendants.                                        *

  *   *    *     *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff, ANB 3232 P Street LLC, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby gives notice that the above captioned matter is voluntarily

dismissed with prejudice as to all defendants.


Dated: July 8, 2014                                  /s/
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